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11   Costco Wholesale Corporation
12
                                 UNITED STATES DISTRICT COURT
13
                              NORTHERN DISTRICT OF CALIFORNIA
14
                                       SAN FRANCISCO DIVISION
15

16
     IN RE: CATHODE RAY TUBE (CRT)                    Case No. 3:07-cv-05944-SC
17   ANTITRUST LITIGATION                             MDL NO. 1917

18                                                    Individual Case No.: 3:11-CV-06397-SC
     This Document Relates to:
19
            Case No. 3:11-06397-SC                    STIPULATION AND [PROPOSED]
20                                                    ORDER REGARDING DISMISSAL OF
     COSTCO WHOLESALE CORPORATION,                    COSTCO’S STATE LAW CLAIMS
21                                                    AGAINST SAMSUNG SDI
                          Plaintiff,
22
                  v.
23
     HITACHI LTD., et al.,
24
                          Defendants.
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     STIPULATION AND [PROPOSED] ORDER REGARDING DISMISSAL
     OF COSTCO’S STATE LAW CLAIMS AGAINST SAMSUNG SDI
     Case No. 3:07-cv-05944-SC
      Case 3:07-cv-05944-JST Document 2254 Filed 12/11/13 Page 2 of 6



 1          WHEREAS, on November 14, 2011, Costco Wholesale Corporation (“Costco”) filed a
 2   Complaint and Jury Demand in the United States District Court for the Western District of
 3   Washington, Costco Wholesale Corp. v. Hitachi, Ltd., Case No. 2:11-cv-01909-RSM, alleging
 4   violations of Section 1 of the Sherman Act (15 U.S.C. § 1), the California Cartwright Act (Cal.
 5   Bus. & Prof. Code § 16700 et seq.), the Washington Consumer Protection Act (RCW 19.86.030),
 6   the Arizona Antitrust Act (Ariz. Rev. Stat. § 14-1401 et seq.), the Florida Deceptive and Unfair
 7   Trade Practices Act (Florida Stat. § 501.201 et seq.), and the Illinois Antitrust Act (740 Illinois
 8   Code 10/1 et seq.);
 9          WHEREAS, on November 28, 2011, the Judicial Panel on Multidistrict Litigation issued a
10   conditional transfer order pursuant to 28 U.S.C. § 1407, transferring the Costco action to the
11   Northern District of California, to be consolidated with MDL No. 1917, In re Cathode Ray Tube
12   (CRT) Antitrust Litigation, No. 07-cv-5944-SC (the “MDL”);
13          WHEREAS, the Costco Action was transferred to the Northern District of California;
14          WHEREAS, on August 17, 2012, various defendants filed a joint Motion to Dismiss and
15   for Judgment on the Pleadings as to Certain Direct Action Plaintiffs’ Claims, including Costco’s,
16   on various grounds (Dkt. No. 1317);
17          WHEREAS, on March 26, 2013, Direct Action Plaintiffs filed a Motion for Leave to File
18   Amended Complaints, which included a request by Costco to amend its complaint to add
19   Samsung SDI America, Inc., Samsung SDI Co., Ltd., Samsung SDI (Malaysia) Sdn. Bhd.,
20   Samsung SDI Mexico S.A de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co., Ltd.,
21   and Tianjin Samsung SDI Co., Ltd. (collectively “SDI”) as defendants (Dkt. No. 1609);
22          WHEREAS, on August 21, 2013, the Court issued an order adopting the Special Master’s
23   recommendation that Costco’s claim under Washington state law be dismissed without leave to
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     amend (Dkt. No. 1856);
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            WHEREAS, on September 26, 2013, the Court issued an order adopting the Interim
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     Special Master’s recommendation that Costco be allowed to amend its complaint to add SDI as a
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     defendant (Dkt. No. 1959);
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     STIPULATION AND [PROPOSED] ORDER REGARDING DISMISSAL
     OF COSTCO’S STATE LAW CLAIMS AGAINST SAMSUNG SDI
     Case No. 3:07-cv-05944-SC
      Case 3:07-cv-05944-JST Document 2254 Filed 12/11/13 Page 3 of 6



 1          WHEREAS, on October 3, 2013, Costco filed a First Amended Complaint in the Northern
 2   District of California, Costco Wholesale Corporation v. Hitachi, Ltd., Case No. 3:11-cv-06397,
 3   Master File No. 3:07-cv-05944-SC (Dkt. No. 1982), naming SDI as a defendant;
 4          WHEREAS, on November 4, 2013, SDI filed a Motion to Dismiss Costco’s claims under
 5   the California Cartwright Act, the Arizona Antitrust Act, the Florida Deceptive and Unfair Trade
 6   Practices Act, and the Illinois Antitrust Act (Dkt. No. 2171);
 7          NOW, THEREFORE, COSTCO AND SDI, BY AND THROUGH THEIR RESPECTIVE
 8   COUNSEL OF RECORD, HEREBY STIPULATE AS FOLLOWS:
 9          1.      Costco’s claims against SDI under the California Cartwright Act, the Arizona
10   Antitrust Act, the Florida Deceptive and Unfair Trade Practices Act, and the Illinois Antitrust Act
11   are dismissed with prejudice;
12          2.      SDI’s Motion to Dismiss Costco’s state-law claims is withdrawn as moot;
13          3.      This stipulation and the Court’s order thereon shall have no bearing on Costco’s
14   Sherman Act claim against SDI;
15          4.      SDI’s answer to Costco’s First Amended Complaint shall be due on the first
16   business day thirty (30) days after the Court enters this stipulation as an order; and
17          5.      The undersigned parties jointly and respectfully request that the Court enter this
18   stipulation as an order.
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     STIPULATION AND [PROPOSED] ORDER REGARDING DISMISSAL
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      Case 3:07-cv-05944-JST Document 2254 Filed 12/11/13 Page 4 of 6



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26                                     Co. Ltd. and Tianjin Samsung SDI Co., Ltd.

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     STIPULATION AND [PROPOSED] ORDER REGARDING DISMISSAL
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 1
            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
 2
     document has been obtained from each of the above signatories.
 3
     Dated: November 13, 2013
 4

 5
                                                     By: /s/ David J. Burman
 6                                                       David J. Burman
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     STIPULATION AND [PROPOSED] ORDER REGARDING DISMISSAL
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     Case No. 3:07-cv-05944-SC
       Case 3:07-cv-05944-JST Document 2254 Filed 12/11/13 Page 6 of 6



 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2

 3   DATED: ___________________________          _______________________________
                                                 Hon. Samuel A. Conti
 4                                               United States District Judge

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